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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

JONATHON CHARLES LEONARD,               Case No. 1:20-cv-4777
On Behalf of Himself and All Others
Similarly Situated,

                          Plaintiff,    CLASS ACTION COMPLAINT FOR
                                        VIOLATION OF THE FEDERAL
                   v.                   SECURITIES LAWS

SCWORX CORP. and MARC S.
SCHESSEL,                               JURY TRIAL DEMANDED


                          Defendants.
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         Plaintiff Jonathon Charles Leonard (“Plaintiff”), on behalf of himself and all others

similarly situated, by and through his attorneys, alleges the following upon information and belief,

except as to those allegations concerning Plaintiff, which are alleged upon personal knowledge.

Plaintiff’s information and belief is based upon, among other things, investigation of his counsel,

which includes review and analysis of regulatory filings made by SCWorx Corp. (“SCWorx” or

the “Company”) with the United States Securities and Exchange Commission (SEC) as well as

review and analysis of press releases, transcripts, media reports, analyst reports, and other publicly-

available information.

                                  SUMMARY OF THE ACTION

         1.       This is a securities fraud class action on behalf of all persons that purchased or

otherwise acquired SCWorx securities between April 13, 2020 and April 17, 2020, inclusive (the

“Class Period”). Plaintiff’s claims arise under the Securities Exchange Act of 1934 (the “Exchange

Act”).

         2.       SCWorx describes itself as a provider of data content and services related to the

repair, normalization, and interoperability of information for healthcare providers, as well as big

data analytics for the healthcare industry. Shares of SCWorx’s common stock trade on the

NASDAQ stock exchange under the ticker symbol “WORX.”

         3.       On April 13, 2020, SCWorx issued a press release entitled “SCWorx Announces

First Installment of Purchase Order For 48 Million COVID-19 Rapid Testing Units Over Twenty-

Four Weeks at $35 Million Dollars Per Week,” which stated in part:

         SCWorx Corp. (WORX) announced today that it has received a committed
         purchase order from Rethink My Healthcare, a U.S.-based virtual healthcare
         network, for two million COVID-19 Rapid Testing Units, with provision for
         additional weekly orders of 2 million units for 23 weeks, valued at $35M per week.




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       Under the Order, SCWorx will supply Rethink My Healthcare with IgM/IgG Rapid
       Detection Kits. SCWorx anticipates receiving the first 2 million rapid detection kits
       within approximately two weeks.

       4.       On this news, the Company’s share price skyrocketed from a previous close of

$2.25 per share to $14.88 per share before later closing that day at $12.02 per share.

       5.       It was not long before a securities analyst/short seller publicly questioned the deal.

The next morning, on April 14, 2020, Utopia Capital Research issued a report doubting the validity

of the Company’s announcement, calling it “ludicrous,” “very difficult to believe,” and

questioning its management’s credibility in connection with the previous day’s press release and

earlier claims. The report summarized the concerns as follows:

       It thus appears that members of management are no strangers to being
       involved/linked to securities laws violations [and] class action lawsuits for
       misleading investors. This should be of great concern when bearing in mind the
       outlandish claims made by the company over the last few weeks.

       6.       On this news, SCWorx common stock closed down 30% at $8.45 per share on

April 14, 2020.

       7.       On April 15 and 16, 2020, SCWorx doubled down on its earlier announcement in

an SEC Form 8-K and in an investor conference call, reaffirming the purchase commitment and

identifying the Company’s supplier of the test kits as ProMedical Equipment Pty Ltd.

(“ProMedical”).

       8.       On April 17, 2020, however, Hindenburg Research issued its own report entitled

“SCWorx: Evidence Points to its Massive COVID-19 Test Deal Being Completely Bogus, Price

Target Back to $2.25 Or Lower,” which called into question the validity of the deal. According to

the report, ProMedical, (i) has a Chief Executive Officer (CEO) “who formerly ran another

business accused of defrauding its investors and customers” and “was also alleged to have falsified

his medical credentials,” (ii) ProMedical claimed to the FDA and regulators in Australia to be


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offering COVID-19 test kits manufactured by Wondfo, but “Wondfo put out a press release days

ago stating that ProMedical ‘fraudulently mispresented themselves’ as sellers of its Covid-19 tests

and disavowed any relationship,” and (iii) the buyer that SCWorx claimed to have ordered the tests

did not appear to be “capable of handling hundreds of millions of dollars in orders.”

       9.       On this news, the Company’s share price fell $1.19, or more than 17%, over three

consecutive trading sessions to close at $5.76 per share on April 21, 2020, on unusually heavy

trading volume.

       10.      On April 22, 2020, the SEC ordered that trading in SCWorx securities be suspended

because of “questions and concerns regarding the adequacy and accuracy of publicly available

information in the marketplace.”

       11.      Thereafter, the Company reported that it had been “contacted by the U.S.

Attorney’s Office for the District of New Jersey, which is seeking information and documents

from the Company’s officers and directors relating primarily to the April 13, 2020 press release

concerning COVID-19 rapid test kits.”

       12.      Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects.     Specifically, Defendants failed to disclose to investors that:

(i) SCWorx’s supplier for COVID-19 tests had previously misrepresented its operations;

(ii) SCWorx’s buyer was a small company that was unlikely to adequately support the purported

volume of orders for the COVID-19 tests; (iii) as a result, the Company’s purchase order for

COVID-19 tests had been misstated, overstated or entirely fabricated; and (iv) as a result of the

foregoing, Defendants’ positive statements about the Company’s business, operations, and

prospects, were materially misleading and/or lacked a reasonable basis.



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       13.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       14.      The claims asserted herein arise under §§ 10(b) and 20(a) of the Exchange Act

(15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R.

§ 240.10b-5).

       15.      This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1331 and § 27 of the Exchange Act (15 U.S.C. § 78aa).

       16.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and § 27 of the

Exchange Act (15 U.S.C. § 78 aa(c)). Substantial acts in furtherance of the alleged fraud and/or

the effects of the fraud have occurred in this District. Many of the acts charged herein, including

the dissemination of materially false and/or misleading information, occurred in substantial part in

this District. In addition, the Company’s principal executive offices are located in this District.

       17.      In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                             PARTIES

       18.      Plaintiff Jonathon Charles Leonard, as set forth in the accompanying Certification,

purchased SCWorx common stock during the Class Period, and suffered damages as a result of

the fraud described herein.




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        19.    Defendant SCWorx is a Delaware corporation with its principal executive offices

located at 590 Madison Avenue, 21st Floor, New York, New York. SCWorx’s common stock

trades on the NASDAQ stock exchange under the symbol “WORX.”

        20.    Defendant Marc S. Schessel was the Company’s founder, CEO and Chairman of

the Board at all relevant times. Schessel, because of his positions with the Company, possessed

the power and authority to control the contents of the Company’s reports to the SEC, press releases

and presentations to securities analysts, money and portfolio managers and institutional investors,

i.e., the market. Schessel was provided with copies of the Company’s reports and press releases

alleged herein to be misleading prior to their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected. Because of his positions and access to material non-

public information available to him, Schessel knew that the adverse facts specified herein had not

been disclosed to, and were being concealed from, the public, and that the positive representations

which were being made were then materially false and/or misleading.

                         DEFENDANTS’ FRAUDULENT CONDUCT

        21.    SCWorx describes itself as a provider of data content and services related to the

repair, normalization, and interoperability of information for healthcare providers, as well as big

data analytics for the healthcare industry.

        22.    On Monday, April 13, 2020, prior to market open, SCWorx issued a press release

entitled “SCWorx Announces First Installment of Purchase Order For 48 Million COVID-19

Rapid Testing Units Over Twenty-Four Weeks at $35 Million Dollars Per Week,” which stated in

part:

        NEW YORK, April 13, 2020 (GLOBE NEWSWIRE) -- SCWorx Corp. (WORX)
        announced today that it has received a committed purchase order from Rethink
        My Healthcare, a U.S.-based virtual healthcare network, for two million COVID-



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       19 Rapid Testing Units, with provision for additional weekly orders of 2 million
       units for 23 weeks, valued at $35M per week.

       Under the Order, SCWorx will supply Rethink My Healthcare with IgM/IgG
       Rapid Detection Kits. SCWorx anticipates receiving the first 2 million rapid
       detection kits within approximately two weeks.

       “Widespread testing for COVID-19 disease in the United States is absolutely
       critical for saving lives and reopening our economy,” said Marc Schessel, CEO of
       SCWorx. “Our substantial purchase order from Rethink My Healthcare will
       significantly increase the availability of rapid-test kits in the United States.
       Additional purchase orders currently under negotiation with certain other parties
       could further increase the U.S. supply of these important tests in the near term.”

       About the IgM/IgG Rapid Detection Kit

       The COVID-19 Corona Virus IgM/IgG Rapid Test is an in-vitro diagnostic test
       solely for the qualitative determination of COVID-19’s IgM and IgG antibodies in
       human whole blood, serum, plasma and fingertip blood. This IgM/IgG Rapid
       Detection Kit is the world's first device that tests for both IgM and IgG antibodies
       with proven good clinical performance compared with RT-PCR.

       Under regulatory guidelines, the Rapid Detection Kit is for professional use only
       and can be used in Centers for Disease Control and Prevention, Primary Health
       Care Institutions, Government Department / Public Institution State-Owned
       Enterprise / Large Company, Industrial Production Enterprise, Schools and/or
       Prison / Detention Center/ Drug Rehabilitation Center.

(Emphasis Added).

       23.     On this news, the Company’s share price skyrocketed from a previous close of

$2.25 per share to $14.88 per share before later closing that day at $12.02 per share, on an

astronomical volume of more than 96 million shares.

       24.     The statements identified in ¶ 22 were materially false and/or misleading, and failed

to disclose material adverse facts about the Company’s business, operations, and prospects.

Specifically, Defendants failed to disclose to investors that: (i) SCWorx’s supplier for COVID-19

tests had previously misrepresented its operations; (ii) SCWorx’s buyer was a small company that

was unlikely to adequately support the purported volume of orders for the COVID-19 tests; (iii) as

a result, the Company’s purchase order for COVID-19 tests had been misstated, overstated, or

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entirely fabricated; and (iv) as a result of the foregoing, Defendants’ positive statements about the

Company’s business, operations, and prospects, were materially misleading and/or lacked a

reasonable basis.

        25.    The next morning, on April 14, 2020, Utopia Capital Research—a self-described

activist short-seller—issued a report questioning the validity of the Company’s announcement,

calling it “ludicrous,” “very difficult to believe,” and questioning its managements’ credibility in

connection with the previous day’s press release and earlier claims. The report further stated in

part:

        It thus appears that members of management are no strangers to being
        involved/linked to securities laws violations [and] class action lawsuits for
        misleading investors. This should be of great concern when bearing in mind the
        outlandish claims made by the company over the last few weeks.

                                          *       *       *

        WORX’s price run yesterday coincided with news that the company had received
        a “committed purchase order” from Rethink My Healthcare, for two million
        COVID-19 Rapid Testing Units, with provision for additional weekly orders of 2
        million units for 23 weeks, valued at $35M per week (6). This claim is very difficult
        to believe in light of the fact that the number of COVID-19 test carried out in the
        USA amount to only 298,499 since January 21, 2020 (7). How will Rethink My
        Healthcare sell all these tests is a very good question, especially as it is a company
        that specialises in virtual healthcare services with a somewhat underwhelming
        website (8). Yet this is not the only grandiose claim recently made by WORX’s
        management. On March 27, 2020, the company claimed that its subsidiary sourced
        one million surgical masks for “existing large hospital customer”, the hospital’s
        name is not specified. (9) And on March 30, 2020, it announced that it had signed
        a new renewable annual data management contract with one of the Northeast’s
        leading Cancer Institutes, once again the name of the customer is not specified (10).

                                          *       *       *

        WORX is not a good investment. The combination of: ludicrous claims made by
        management; a CFO named as a defendant in a class action lawsuit that the
        company settled; terrible financials; a merger involving thousands of shares
        purchased at a fraction of the current trading price; drastic share price and trading
        volume increases in a single day; and ongoing dilution, should be enough to make
        most people highly sceptical about purchasing this company’s shares. Stay away
        from WORX unless you are an experienced trader.

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       26.    On this news, the price of SCWorx’s common stock dropped $3.57 per share,

closing down 30% at $8.45 per share.

       27.    On April 15, 2020, SCWorx doubled down on its earlier announcement, reaffirming

the purchase commitment on a “Business Update Call” with analysts and investors. On the call,

Defendant Schessel stated as follows:

       But I also mentioned testing. On Monday of this week, we announced receipt of a
       committed purchase order from Rethink My Healthcare, a U.S.-based
       telemedicine healthcare network, for two million COVID-19 Rapid Testing Units,
       with provision for additional weekly orders of 2 million units for 23 weeks, valued
       at $35 million per week. Under the terms of the purchase order, we will supply
       Rethink My Healthcare with Point of Care IgM/IgG Rapid Detection Kits that
       provide immunoglobulin qualitative detection of IGM and IGG antibodies that
       are specifically generated by the body in response to the SARS COVI-2 infection
       - a kit targeting the specific antigens on the surface of the virus and providing a
       simple yes or no result within several minutes. Prior to this purchase commitment,
       I had been contacted by a multitude of hospitals, government agencies such as
       FEMA and folks representing the Federal prisons. With such an incredible demand
       I asked the hospitals in my buying group – hospitals like Partners Healthcare in
       Boston and the University of Vermont (who by the way have been deputized to
       purchase supplies for the entire state of Vermont) to assist me in testing these new
       point of care test kits among other products, quickly passing the kits to their labs
       and rapidly responding as to their effectiveness – this allowed me a streamlined
       product approval platform unheard of in normal operating conditions. I spent weeks
       researching over 30 product different lines, distributors, intermediaries until I
       found an actual manufacturer that had a kit that appeared to me at least to have
       all the attributes I was looking for – which were a very high sensitivity rating to
       blood samples, had the proper FDA authorizations under the emergency
       authorization act, was not a Chinese or South Korean manufacturer, was well on
       its way towards getting full FDA clearance and had enough capacity on his line
       where I could purchase 25% of his capacity with options to grow that over time.
       We anticipate receiving the first 2 million rapid detection kits in about two weeks
       and thereafter 2 million tests per week – with the full understanding from Rethink
       My Healthcare, that due to the incredible demand for these kits, until such a time
       where we can get more capacity, we would be splitting up its contract so that
       critically effected areas – such as the Federal Prisons could access these important
       items, albeit not in the quantity they require – however enough so that they can
       commence a program focused at first on the inmates and employees that need them
       the most – agreements that we are currently working through terms and procedurals.

(Emphasis added).



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       28.     On April 16, 2020, SCWorx filed a Form 8-K with the SEC, which was signed by

Defendant Schessel and which stated in part as follows:

       Effective April 10, 2020, SCWorx, Corp., a Delaware corporation (the
       “Company”), accepted a purchase order (“Purchase Order”) from Rethink My
       Healthcare (“RMH”), a U.S.-based virtual healthcare network, under which
       RMH has ordered and the Company is required to deliver two million COVID-
       19 Rapid Testing Units, at a per unit price of $17.50, with provision for additional
       weekly orders of 2 million units for 23 weeks (a total of 48 million units).

       On April 10, 2020, concurrently with its acceptance of the Purchase Order, the
       Company entered into a Supply Agreement (“Supply Agreement”) with
       ProMedical Equipment Pty Ltd. (“Supplier”) pursuant to which the Company
       agreed to purchase and the Supplier agreed to supply an aggregate of 52 million
       COVID-19 Rapid Testing Units over a six month period, comprised of 2 million
       units per week, at a per unit price of $13.00, commencing April 24, 2020. Pursuant
       to the Supply Agreement, the Company is required to pay 50% down at the time of
       order placement, with the remaining 50% due upon completion of order and prior
       to shipping.

(Emphasis Added).

       29.     The statements identified in ¶¶ 27-28 were materially false and/or misleading, and

failed to disclose material adverse facts about the Company’s business, operations, and prospects.

Specifically, Defendants failed to disclose to investors that: (i) SCWorx’s supplier for COVID-19

tests had previously misrepresented its operations; (ii) SCWorx’s buyer was a small company that

was unlikely to adequately support the purported volume of orders for the COVID-19 tests; (iii) as

a result, the Company’s purchase order for COVID-19 tests had been misstated, overstated, or

entirely fabricated; and (iv) as a result of the foregoing, Defendants’ positive statements about the

Company’s business, operations, and prospects, were materially misleading and/or lacked a

reasonable basis.

       30.     On April 17, 2020, Hindenburg Research issued a report doubting the validity of

the deal, calling it “completely bogus,” considering the CEO’s checkered past, the questionable

credibility of supplier Promedical, and the relatively small size of Rethink My Healthcare. In a


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report entitled “SCWorx: Evidence Points to its Massive COVID-19 Test Deal Being Completely

Bogus, Price Target Back to $2.25 Or Lower,” Hindenburg Research summarized its detailed

report, in relevant part:

             •   SCWorx, a nanocap company headquartered in a Regus rental office in
                 New York City, recently announced it had entered into massive $35
                 million per week deal to buy and re-sell Covid-19 tests, causing its stock
                 to surge 434%.

             •   SCWorx’s CEO has a checkered past, including pleading guilty to felony
                 tax evasion charges and paying a judgement in a lawsuit alleging he
                 submitted fraudulent expense reports.

             •   The Covid-19 test supplier that SCWorx is buying from, Promedical, also
                 is laden with red flags. Its CEO is a convicted rapist and formerly ran
                 another business accused of defrauding its investors and customers. The
                 CEO was also alleged to have falsified his medical credentials.

             •   Promedical claimed to the FDA and regulators in Australia to be offering
                 COVID-19 test kits manufactured by large, well-respected Chinese firm
                 Wondfo.

             •   Wondfo put out a press release days ago stating that Promedical
                 “fraudulently mispresented themselves” as sellers of its Covid-19 tests and
                 disavowed any relationship. We spoke with Wondfo and confirmed there
                 was never any relationship.

             •   Meanwhile, the buyer that SCWorx has lined up for up to $840 million
                 dollars in tests is a virtual healthcare company started by a 25-year-old in
                 August 2018 that looks modestly sized, with only 3 employees and 3
                 consultants/advisors listed on its team page–hardly the major partner that
                 we believe would be capable of handling hundreds of millions of dollars
                 in orders.

             •   Obviously, we believe the Covid-19 hype surrounding SCWorx is
                 completely bogus and we predict shares will soon return to the $2.25 price
                 level they were at prior to the hype.

             •   We also think shares risk being halted and ultimately could move far lower
                 than $2.25 if/when regulators investigate the company’s potentially
                 nefarious business practices at a time when our country and its citizens are
                 arguably at their most vulnerable. We’re offended by how egregious this
                 appears, not only as investors, but as Americans.

        (Emphasis added.)

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          31.   On this news, the Company’s share price fell $1.19, or more than 17%, over three

consecutive trading sessions to close at $5.76 per share on April 21, 2020, on unusually heavy

trading volume.

          32.   On April 22, 2020, the SEC ordered that trading in the securities of the Company

be suspended because of “questions and concerns regarding the adequacy and accuracy of publicly

available information in the marketplace” As of the filing of this Complaint, trading remains

halted.

          33.   On April 23, 2020, Robert Christie resigned from SCWorx’s Board of Directors.

          34.   On April 29, 2020, SCWork’s Chief Operating Officer, James Schweikert, “was

terminated by mutual agreement.”

          35.   Thereafter, the Company reported that it had been “contacted by the U.S.

Attorney’s Office for the District of New Jersey, which is seeking information and documents

from the Company’s officers and directors relating primarily to the April 13, 2020 press release

concerning COVID-19 rapid test kits.”

                               CLASS ACTION ALLEGATIONS

          36.   Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired SCWorx securities between April 13, 2020 and April 17, 2020, inclusive,

and who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the

officers and directors of the Company, at all relevant times, members of their immediate families

and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

have or had a controlling interest.




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       37.        The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, SCWorx’s common stock actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

only be ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds

or thousands of members in the proposed Class. Tens of millions of shares of SCWorx common

stock were traded during the Class Period on the NASDAQ exchange. Record owners and other

members of the Class may be identified from records maintained by SCWorx or its transfer agent

and may be notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

       38.        Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       39.        Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in securities class action litigation.

       40.        Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;

                  (b)    whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of SCWorx; and




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               (c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

       41.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                              UNDISCLOSED ADVERSE FACTS

       42.     The market for SCWorx’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements, and/or failures to

disclose, SCWorx’s securities traded at artificially inflated prices during the Class Period. Plaintiff

and other members of the Class purchased or otherwise acquired SCWorx’s securities relying upon

the integrity of the market price of the Company’s securities and market information relating to

SCWorx, and have been damaged thereby.

       43.     During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of SCWorx’s securities, by publicly issuing false and/or misleading statements

and/or omitting to disclose material facts necessary to make Defendants’ statements, as set forth

herein, not false and/or misleading. The statements and omissions were materially false and/or

misleading because they failed to disclose material adverse information and/or misrepresented the

truth about SCWorx’s business, operations, and prospects as alleged herein.

       44.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the



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Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about SCWorx’s financial well-being and prospects. These material misstatements

and/or omissions had the cause and effect of creating in the market an unrealistically positive

assessment of the Company and its financial well-being and prospects, thus causing the

Company’s securities to be overvalued and artificially inflated at all relevant times. Defendants’

materially false and/or misleading statements during the Class Period resulted in Plaintiff and other

members of the Class purchasing the Company’s securities at artificially inflated prices, thus

causing the damages complained of herein when the truth was revealed over time.

                                       LOSS CAUSATION

       45.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       46.     During the Class Period, Plaintiff and the Class purchased SCWorx’s securities at

artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                  SCIENTER ALLEGATIONS

       47.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere here in in detail, Schessel, by virtue of his receipt



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of information reflecting the true facts regarding SCWorx, his control over, and/or receipt and/or

modification of SCWorx’s allegedly materially misleading misstatements and/or his associations

with the Company which made him privy to confidential proprietary information concerning

SCWorx, participated in the fraudulent scheme alleged herein.

                  APPLICABILITY OF PRESUMPTION OF RELIANCE
                      (FRAUD-ON-THE-MARKET DOCTRINE)

       48.     The market for SCWorx’s securities was open, well-developed and efficient at all

relevant times. As a result of the materially false and/or misleading statements and/or failures to

disclose, SCWorx’s securities traded at artificially inflated prices during the Class Period. On

April 13, 2020, the Company’s share price closed at a Class Period high of $12.02 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s securities

relying upon the integrity of the market price of SCWorx’s securities and market information

relating to SCWorx, and have been damaged thereby.

       49.     During the Class Period, the artificial inflation of SCWorx’s shares was caused by

the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about SCWorx’s business, prospects, and operations. These material misstatements

and/or omissions created an unrealistically positive assessment of SCWorx and its business,

operations, and prospects, thus causing the price of the Company’s securities to be artificially

inflated at all relevant times, and when disclosed over time, negatively affected the value of the

Company shares.       Defendants’ materially false and/or misleading statements during the

Class Period resulted in Plaintiff and other members of the Class purchasing the Company’s

securities at such artificially inflated prices, and each of them has been damaged as a result.

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       50.     At all relevant times, the market for SCWorx’s securities was an efficient market

for the following reasons, among others:

               (a)     SCWorx shares met the requirements for listing, and was listed and actively

traded on the NASDAQ, a highly efficient and automated market;

               (b)     As a regulated issuer, SCWorx filed periodic public reports with the SEC

and/or the NASDAQ;

               (c)     SCWorx regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases on

the national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or

               (d)     SCWorx was followed by securities analysts employed by brokerage firms

who wrote reports about the Company, and these reports were distributed to the sales force and

certain customers of their respective brokerage firms. Each of these reports was publicly available

and entered the public marketplace.

       51.     As a result of the foregoing, the market for SCWorx’s securities promptly digested

current information regarding SCWorx from all publicly available sources and reflected such

information in SCWorx’s share price. Under these circumstances, all purchasers of SCWorx’s

securities during the Class Period suffered similar injury through their purchase of SCWorx’s

securities at artificially inflated prices and a presumption of reliance applies.

       52.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),

because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse



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information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                       NO SAFE HARBOR

       53.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of

SCWorx who knew that the statement was false when made.




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                                 FIRST CLAIM FOR RELIEF
                          Violation of § 10(b) of the Exchange Act and
                             Rule 10b-5 Promulgated Thereunder
                                 Against SCWorx and Schessel

        54.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        55.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase SCWorx’s securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

        56.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements made not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for SCWorx’s securities in violation of § 10(b) of the

Exchange Act and Rule 10b-5. Defendants are sued either as primary participants in the wrongful

and illegal conduct charged herein or as controlling persons as alleged below.

        57.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about SCWorx’s financial

well-being and prospects, as specified herein.

        58.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course


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of conduct as alleged herein in an effort to assure investors of SCWorx’s value and performance

and prospects, which included the making of, or the participation in the making of, untrue

statements of material facts and/or omitting to state material facts necessary in order to make the

statements made about SCWorx and its business operations and future prospects in light of the

circumstances under which they were made, not misleading, as set forth more particularly herein,

and engaged in transactions, practices and a course of business which operated as a fraud and

deceit upon the purchasers of the Company’s securities during the Class Period.

       59.     Schessel’s primary liability and controlling person liability arises from the

following facts, among others: (i) Schessel was a high-level executive and director at the Company

during the Class Period and member of the Company’s management team and had control thereof;

(ii) Schessel, by virtue of his responsibilities and activities as a senior officer and director of the

Company, was privy to and participated in the negotiation, creation, development, and reporting

of the Company’s contracts, plans, projections and/or reports; (iii) Schessel had access to other

members of the Company’s management team, contracts, internal reports, and other data and

information about the Company’s contracts, agreements, finances, operations, and sales at all

relevant times; and (iv) Schessel was aware of and participated in the Company’s dissemination

of information to the investing public which he knew and/or recklessly disregarded was materially

false and misleading.

       60.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to

ascertain and to disclose such facts, even though such facts were readily available to them.

Defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing SCWorx’s financial well-being and prospects from the



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investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ misstatements of the Company’s business, operations, financial well-being, and

prospects during the Class Period, Defendants, if they did not have actual knowledge of the

misrepresentations and/or omissions alleged, were reckless in failing to obtain such knowledge by

deliberately refraining from taking those steps necessary to discover whether those statements

were false or misleading.

       61.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of

SCWorx’s securities was artificially inflated during the Class Period. In ignorance of the fact that

market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of the

market in which the securities trade, and/or in the absence of material adverse information that

was known to or recklessly disregarded by Defendants, but not disclosed in public statements by

Defendants during the Class Period, Plaintiff and the other members of the Class acquired

SCWorx’s securities during the Class Period at artificially high prices and were damaged thereby.

       62.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true and not

misleading. Had Plaintiff and the other members of the Class and the marketplace known the truth

regarding SCWorx’s business, operations, and prospects, which were not accurately disclosed by

Defendants, Plaintiff and other members of the Class would not have purchased or otherwise

acquired their SCWorx securities, or, if they had acquired such securities during the Class Period,

they would not have done so at the artificially inflated prices which they paid.




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        63.     By virtue of the foregoing, Defendants violated § 10(b) of the Exchange Act and

Rule 10b-5 promulgated thereunder.

        64.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                               SECOND CLAIM FOR RELIEF
                            Violation of § 20(a) of the Exchange Act
                                        Against Schessel

        65.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        66.     Schessel acted as a controlling person of SCWorx within the meaning of § 20(a) of

the Exchange Act as alleged herein. By virtue of his high-level positions and his ownership and

contractual rights, participation in, and/or awareness of the Company’s operations and intimate

knowledge of the false and misleading statements made by himself and the Company and

disseminated to the investing public, Schessel had the power to influence and control and did

influence and control, directly or indirectly, the decision-making of the Company, including the

content and dissemination of the various statements which Plaintiff contends are false and

misleading. Schessel was provided with or had unlimited access to copies of the Company’s

reports, press releases, public filings, and other statements alleged by Plaintiff to be misleading

prior to these statements being issued and had the ability to prevent the issuance of the statements

or cause the statements to be corrected.

        67.     In particular, Schessel had direct and supervisory involvement in the day-to-day

operations of the Company and, therefore, had the power to control or influence the particular

transactions and statements giving rise to the securities violations as alleged herein, and exercised

the same.
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       68.     As set forth above, SCWorx and Schessel each violated § 10(b) and Rule 10b-5 by

their acts and omissions as alleged in this Complaint. By virtue of his position as a controlling

person, Schessel is liable pursuant to § 20(a) of the Exchange Act. As a direct and proximate result

of Defendants’ wrongful conduct, Plaintiff and other members of the Class suffered damages in

connection with their purchases of the Company’s securities during the Class Period.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment, as follows:

       A.      Determining that this action is a proper class action under Rule 23 of the Federal

               Rules of Civil Procedure;

       B.      Awarding compensatory damages in favor of Plaintiff and the other Class members

               against all Defendants, jointly and severally, for all damages sustained as a result

               of Defendants’ wrongdoing, in an amount to be proven at trial, together with pre-

               and post-judgment interest at the maximum legal rate allowable by law;

       C.      Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

               this action, including counsel fees and expert fees; and

       D.      Such other and further relief as the Court may deem just and proper.




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                               JURY TRIAL DEMANDED

     Plaintiff hereby demands a trial by jury.

DATED: June 22, 2020                              Respectfully submitted,

                                                  JOHNSON FISTEL, LLP


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                                   CERTIFICATION OF PLAINTIFF PURSUANT
                                      TO THE FEDERAL SECURITIES LAWS
                    I, Jonathon Charles Leonard, declare the following as to the claims asserted, or to be
            asserted, under the federal securities laws:
                     1.      I have reviewed the complaint and authorize its filing.

                     2.      I did not acquire the securities that are the subject of this action at the direction of

            plaintiff’s counsel or in order to participate in any private action or any other litigation under the

            federal securities laws.

                     3.      I am willing to serve as a representative party on behalf of the class, including

            testifying at deposition or trial, if necessary.

                     4.      I made the following transactions during the Class Period in the securities that are
            the subject of this action.


            Acquisitions:                                           Number of Shares         Acquisition Price Per
                                             Date Acquired             Acquired                     Share
                                                 4/13/20                   9,000                    14.2272




            Sales:                                                  Number of Shares           Selling Price Per
                                               Date Sold                 Sold                        Share
                                                 4/16/20                   9,000                     6.4266




                     5.      I will not accept any payment for serving as a representative party beyond my

            pro-rata share of any recovery, except reasonable costs and expenses – such as lost wages and

            travel expenses – directly related to the class representation, as ordered or approved by the Court

            pursuant to law.

                     6.      I have not sought to serve or served as a representative party for a class in an
            action under the federal securities laws within the past three years, except if detailed below:
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                     I declare under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct.

                     Executed this 19th day of June 2020.

                                                             G   DocuSigned by:



                                                             L~
                                                             __________________________________________
                                                             Jonathon Charles Leonard
